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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9    Eva Pepaj, et al.,                               No. CV-19-01438-PHX-MTL
10                   Plaintiffs,                       ORDER
11    v.
12    Paris Ultra Club LLC,
13                   Defendant.
14
15          Counsel for the parties appeared on August 19, 2022, for oral argument on
16   Plaintiffs’ Motion for Attorneys’ Fees and Costs. (Doc. 128.) On behalf of their clients,
17   counsel indicated an interest in making a final attempt to negotiate a settlement on this
18   issue. After a brief recess, in which counsel had the opportunity to confer with each other
19   and their clients, counsel announced that a settlement had been achieved. The terms of the
20   settlement were entered on the record, under seal.
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      Case 2:19-cv-01438-MTL Document 152 Filed 08/19/22 Page 2 of 2



 1           Accordingly,
 2           IT IS ORDERED:
 3           1.    Plaintiffs’ Motion for Attorneys’ Fees and Costs (Doc. 128) is denied as
 4   moot.
 5           2.    The parties shall submit a stipulation for dismissal no later than Friday,
 6   September 9, 2022. If no stipulation is received by that date, the Clerk of Court shall
 7   dismiss this matter with prejudice unless a party moves for an extension of this deadline.
 8           3.    The Court retains jurisdiction to enforce the settlement agreement.
 9           Dated this 19th day of August, 2022.
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